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                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

                         Before the Honorable John F. Robbenhaar
                              United States Magistrate Judge

                                       Clerk’s Minutes

                                       18cv476 JCH/JFR

                           Pepe v. Casa Blanca Inn & Suites, LLC,

                             Tuesday, July 9, 2019, at 10:30 a.m.

PLAINTIFF’S ATTORNEY PRESENT:                               D. Rusch Gathings, Paul Cohen

DEFENDANT’S ATTORNEY PRESENT:                               Robert C. Evans

TYPE OF PROCEEDING:                                         Telephone Status Conference
                                                            Total Time – 33 minutes

COURT’S NOTES/RULINGS:

     This matter was set for a status conference to check the parties’ desire for a settlement
      conference. Trial is set for 2/24/2020.

     Neither of Plaintiff’s counsel appeared in a timely manner. They did, however, enter
      their appearances after the Court contacted them by telephone. The Court admonished
      counsel for allowing the hearing to commence without their scheduling and recognition
      of the hearing, which was set two months in advance. The Court instructed Plaintiff’s
      counsel to be more mindful and organized regarding matters scheduled in this Court.

     The Court next addressed Defendant’s pending Motion to Compel a Rule 35 Examination
      and to Reset Case Deadlines, Including Trial, in this case, (Doc. 44) (filed 6/13/19).
      Despite the parties’ preliminary scheduling of the Rule 35 Independent Medical
      Evaluation (“IME”) on July 1, 2019, that exam did not proceed due to the parties’
      disagreements about the manner and scope of that evaluation.

     The Court said it would issue a separate order regarding the IME and informed the parties
      it was going to rule that the IME should be performed during July 2019 (and not later), in
      Albuquerque. The exam may not be videotaped nor photographed, and no third party
      may be present, i.e., Plaintiff’s counsel. The Court said Defendant’s offer to share costs
      related to Plaintiff’s attendance at the IME (i.e., airfare, lodging and transportation) was
      reasonable, and the Court would not order any additional costs to be imposed on
      Defendant. The Court also ordered Defendant to instruct Dr. Legant to produce his report
      to Plaintiff and Defendant 10 days after the IME occurs.

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   The Court ordered Defendant to offer proposed dates for the IME to Plaintiff by close of
    business Thursday, July 11, 2019. Plaintiff shall promptly confirm her availability and
    coordinate reasonable travel accommodations to Albuquerque for the IME in July 2019.
    Defendant anticipates that Plaintiff will need one night of lodging in New Mexico.

   The Court would not extend discovery deadline dates because of the current trial setting
    before District Court Judge Herrera on February 24, 2020. The Court encouraged the
    parties to notify this Court if they obtain a rescheduled trial date, and then this Court
    could consider modifying discovery dates. Otherwise, the Court will permit the Rule 35
    examination to occur in July, with a report to issue to both parties ten days after the
    scheduled examination. The Court said that Plaintiff’s deposition should be scheduled
    for a date after the parties receive the IME report.

   If Defendant chooses to designate its Rule 35 examination doctor as an expert under Rule
    26, then it must seek to comply with all current deadlines regarding the same. Plaintiff
    would be afforded a reasonable amount of time to designate a rebuttal expert under the
    Federal Rules of Civil Procedure.

   The Court asked the parties about their interest in setting a Settlement Conference with
    this Court, and although both sides expressed an interest, Plaintiff’s counsel asked if the
    Court could schedule it in conjunction with Plaintiff’s deposition to save Plaintiff the
    need to travel back to Albuquerque for that hearing. The Court explained that a
    Settlement Conference immediately after a deposition (or before) did not seem practical
    or helpful. Plaintiff’s counsel asked if Plaintiff could appear telephonically, and the
    Court explained that in-person settlement conferences are preferred. The parties
    acknowledged they could also explore settlement negotiations outside the Court’s
    involvement.

   The Court will set another status conference for August-September.

   The Court concluded the conference.




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